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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

LEAGUE OF UNITED LATIN                            §
AMERICAN CITIZENS, et al.,                        §
                                                  §
               Plaintiffs,                        §
                                                  §
EDDIE BERNICE JOHNSON, et al.,                    §       EP-21-CV-00259-DCG-JES-JVB
                                                                  [Lead Case]
                                                  §
               Plaintiff-Intervenors,             §
                                                                           &
v.                                                §
                                                  §             All Consolidated Cases
GREG ABBOTT, in his official capacity as          §
Governor of the State of Texas, et al.,           §
                                                  §
               Defendants.                        §

                  ORDER DISMISSING THE UNITED STATES’ CLAIMS
                        AND DENYING MOTIONS AS MOOT

       At the March 5, 2025 status conference, the United States announced on the record that it

wishes to voluntarily dismiss all of the claims it has asserted against Defendants in this case.

Defendants and all of the other Plaintiffs stipulated to the dismissal on the record.

       Accordingly, the Court DISMISSES all of the claims that the United States has asserted

against Defendant in this case.

       Having done so, the Court DENIES the following motions as MOOT:

       (1)     “Defendants and Subpoena Recipients’ Motion to Quash or, in the
               Alternative, Motion for Protective Order” (ECF No. 219);

       (2)     the “United States’ Motion to Enforce Third-Party Subpoenas Duces
               Tecum” (ECF No. 442); and

       (3)     Defendants’ “Amended Motion to Dismiss in Part the United States’
               Supplemental Complaint” (ECF No. 801).

       The other Plaintiffs’ claims remain live. This case shall therefore REMAIN OPEN.



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     So ORDERED and SIGNED this 6th day of March 2025.




                                               ____________________________________
                                               DAVID C. GUADERRAMA
                                               SENIOR U.S. DISTRICT JUDGE



                                       And on behalf of:

          Jerry E. Smith                                        Jeffrey V. Brown
    United States Circuit Judge               -and-        United States District Judge
U.S. Court of Appeals, Fifth Circuit                        Southern District of Texas




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